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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    TQ DELTA, LLC,                                   §
                                                     §
                   Plaintiff,                        §
                                                     §
    v.                                               §    CIVIL ACTION NO. 2:21-CV-00310-JRG
                                                     §
    COMMSCOPE HOLDING COMPANY,                       §
    INC., COMMSCOPE INC., ARRIS                      §
    INTERNATIONAL LIMITED, ARRIS                     §
    GLOBAL LTD., ARRIS US HOLDINGS,                  §
    INC., ARRIS SOLUTIONS, INC., and                 §
    ARRIS ENTERPRISES, LLC,                          §
                   Defendants.                       §

                                MEMORANDUM OPINION AND ORDER
          Before the Court is Defendants CommScope Holding Company, Inc., CommScope Inc.,

   Arris International Limited, Arris Global Ltd., Arris US Holdings, Inc., Arris Solutions, Inc., and

   Arris Enterprises, LLC’s (collectively, “CommScope”) Renewed Motion for Judgment as a Matter

   of Law (the “Motion”). (Dkt. No. 541.) In the Motion, CommScope requests that the Court enter

   judgment as a matter of law that Plaintiff TQ Delta, LLC (“TQ Delta”) breached its contractual

   obligation to grant a license on fair, reasonable, and non-discriminatory (“FRAND”) terms, and

   seeks a new trial limited to the question of the appropriate damages owed to CommScope for the

   alleged breach. (Id. at 1.) Having considered the arguments and briefing, the Court is of the opinion

   that the Motion should be and hereby is DENIED.

   I.     BACKGROUND

          On August 13, 2021, TQ Delta filed the above-captioned case against CommScope

   asserting infringement of certain patents. (See Dkt. No. 1.) CommScope answered the Complaint

   on October 22, 2021, asserting the defenses of invalidity and noninfringement. (See Dkt. No. 17.)

   Additionally, CommScope asserted a breach of contract counterclaim. (Id. at 37.) CommScope
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   alleged that TQ Delta entered into a contract with the International Telecommunications Union

   (“ITU”), and that under that contract, TQ Delta had an irrevocable obligation to permit use of its

   allegedly essential patents, including the Asserted Patents, by manufacturers like CommScope on

   FRAND terms. (Id.) Specifically, in its contract with the ITU, TQ Delta promised it would “grant

   a license to an unrestricted number of applicants on a worldwide, non-discriminatory basis and on

   reasonable terms and conditions to make, use, and sell implementations of the” ITU-T

   Recommendation.” (Dkt. No. 541 at 3, citing Ex. 68 at 2.) CommScope claimed that TQ Delta

   breached this contractual agreement. (Dkt. No. 17 at 37.) TQ Delta does not deny that its standard

   essential patents (“SEPs”) are subject to a FRAND commitment with the ITU. (Dkt. No. 545 at 2.)

          On March 17, 2023, a jury trial commenced in this case. After the close of evidence on

   March 23, 2023, the Court took up matters from both sides under Federal Rule of Civil Procedure

   50(a), where CommScope moved for judgment as a matter of law that TQ Delta breached its

   FRAND obligations imposed by its contract with the ITU. (Dkt. No. 533 at 238:6–240:5.)

   Specifically, CommScope argued that TQ Delta failed to offer licenses to its patents to

   CommScope on FRAND terms. (Id. at 238:23–239:4.) The Court denied CommScope’s 50(a)

   motion. (Id. at 249:6–11.)

           On March 24, 2023, the Jury returned its verdict. (See Dkt. No. 508.) In pertinent part, the

   Jury found that CommScope failed to prove that TQ Delta breached its contractual duty to grant

   licenses regarding its patents declared to the standard on FRAND terms. (Id. at 8.) Further, the

   Jury found that CommScope infringed the asserted claims of the ’881 Patent, the ’686 Patent, the

   ’048 Patent, the ’835 Patent, the ’411 Patent, and the '354 Patent. (Id. at 4.) The Jury also found,

   however, that the asserted claims of the ’686 Patent and the ’835 Patent were invalid. (Id. at 5.)

   The Jury assessed damages against CommScope in the amount of $11,125,000 for its infringement



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   of the four patents found infringed and not invalid. 1 (See id. at 7.) On May 3, 3023, the Court

   entered final judgment on the verdict. (Dkt. No. 513.) CommScope now renews its 50(a) JMOL,

   seeking judgment as a matter of law that TQ Delta breached its contractual obligation and seeking

   a new trial limited to the question of appropriate damages owed to CommScope for TQ Delta’s

   alleged breach. (Dkt. No. 541 at 1.)

   II.      LEGAL STANDARD

            Upon a party’s renewed motion for judgment as a matter of law following a jury verdict,

   the Court asks whether “the state of proof is such that reasonable and impartial minds could reach

   the conclusion the jury expressed in its verdict.” FED. R. CIV. P. 50(b); Am. Home Assur. Co. v.

   United Space Alliance, 378 F.3d 482, 487 (5th Cir. 2004). “The grant or denial of a motion for

   judgment as a matter of law is a procedural issue not unique to patent law, reviewed under the law

   of the regional circuit in which the appeal from the district court would usually lie.” Finisar Corp.

   v. DirectTV Group, Inc., 523 F.3d 1323, 1332 (Fed. Cir. 2008). “A JMOL may only be granted

   when, ‘viewing the evidence in the light most favorable to the verdict, the evidence points so

   strongly and overwhelmingly in favor of one party that the court believes that reasonable jurors

   could not arrive at any contrary conclusion.’” Versata Software, Inc. v. SAP Am., Inc., 717 F.3d

   1255, 1261 (Fed. Cir. 2013) (quoting Dresser-Rand Co. v. Virtual Automation, Inc., 361 F.3d 831,

   838 (5th Cir. 2004)).

            Under Fifth Circuit law, a court is to be “especially deferential” to a jury's verdict, and

   must not reverse the jury's findings unless they are not supported by substantial evidence. Baisden

   v. I'm Ready Productions, Inc., 693 F.3d 491, 499 (5th Cir. 2012). “Substantial evidence is defined

   as evidence of such quality and weight that reasonable and fair-minded men in the exercise of


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    The ’881 Patent, the ’048 Patent, the ’411 Patent, and the '354 Patent were found infringed and not invalid. (See Dkt.
   No. 508 at 4–5.)

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   impartial judgment might reach different conclusions.” Threlkeld v. Total Petroleum, Inc., 211

   F.3d 887, 891 (5th Cir. 2000). A motion for judgment as a matter of law must be denied “unless

   the facts and inferences point so strongly and overwhelmingly in the movant's favor that reasonable

   jurors could not reach a contrary conclusion.” Baisden, 393 F.3d at 498 (citation omitted).

   However, “[t]here must be more than a mere scintilla of evidence in the record to prevent judgment

   as a matter of law in favor of the movant.” Arismendez v. Nightingale Home Health Care, Inc.,

   493 F.3d 602, 606 (5th Cir. 2007).

   III.   DISCUSSION

          Under Texas law, a party asserting breach of contract must prove: “(1) the existence of a

   valid contract; (2) that the [party] performed or tendered performance; (3) that the other party

   breached the contract; and (4) that the party was damaged as a result of the breach.” City of Dall.

   v. Delta Air Lines, Inc., 847 F.3d 279, 287 (5th Cir. 2017) (internal citations omitted). CommScope

   argues in its Motion that it demonstrated that each element of its breach of FRAND claim was met

   during trial, and urges that a reasonable jury could not have found otherwise. (Dkt. No. 541 at 2.)

   TQ Delta responds first that CommScope did not present evidence which would compel a

   reasonable jury to find that TQ Delta did not meet its FRAND obligations. (Dkt. No. 545 at 2.)

   Even if it had, TQ Delta argues that CommScope failed to prove harm, thereby eliminating any

   possibility of breach and any remedy. (Id.)

          A. CommScope Did Not Establish Harm

          CommScope argues that it proved that TQ Delta’s breach harmed CommScope. (Dkt. No.

   541 at 8.) It contends that if TQ Delta had made an offer on FRAND terms for the declared essential

   patent portfolio, “CommScope could have accepted that offer and there would have been no need

   for this litigation.” (Id.) (emphasis added). Further, CommScope points to the testimony of Mr.



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   Wauters, its corporate representative, that CommScope actively made its own FRAND offers to

   try to negotiate itself out of the business disruptions caused by the litigation. (Id., citing Dkt. No.

   528 at 283:11–23.) CommScope additionally notes that

                                         (Id. at 8 n.3, citing Dkt. No. 541-12 at 6–7.) Lastly, the Motion

   vaguely mentions “sales lost to competitors” without elaboration and without citation to the record.

   (Id.)

            TQ Delta responds that CommScope failed to offer any evidence of pecuniary loss with

   any degree of certainty at trial. (Dkt. No. 545 at 3.) TQ Delta also notes that Mr. Wauters did not

   say that CommScope’s business was disrupted or that the lawsuit took resources away from focus

   areas of the company. 2 (Id. (quoting Dkt. No. 530 at 283:11-23) (cited by CommScope at Dkt. No.

   541 at 8).) Additionally, TQ Delta points out that under Texas law, damages for business

   interruption “are measured by the amount of profits lost due to the interruption,” and that the “loss

   amount must be shown by competent evidence with reasonable certainty.” JPMorgan Chase Bank,

   N.A. v. Prof’l Pharmacy II, 508 S.W.3d 391, 429 (Tex. App.–Fort Worth 2014). It urges that Mr.

   Wauters’ testimony fails to meet this standard. (Id. at 4.) Further, TQ Delta notes that its own

   general reference to its own potential litigation costs at trial is not evidence of CommScope’s

   damages. (Id., emphasis in original.)

            Lastly, TQ Delta asserts that CommScope did not show that it was entitled to nominal

   damages because it did not take the position that its harm was non-economic in nature. (Id. at 5

   n.1, citing Loeb-Defever v. Strategic Constr., Ltd., 2022 U.S. Dist. LEXIS 124597, at *15–18 (S.D.



   2
     “[O]ur intention was to try to negotiate a deal with them so ultimately we wouldn’t have to litigate it; we wouldn’t
   end up in a courtroom like this. So our intention was to try to come up with a compromise with them, and that’s why
   we offered the lump sum plus the other licensing arrangement in that offer. And also, frankly, we want to keep -- stay
   focused on designing and building products. Right? We don’t want our business to be disrupted on events like this.
   And, I mean, this obviously can take a lot of resources away from our focus areas inside of our company, and so that
   definitely was the intent of making that offer over to TQ Delta.” (Dkt. No. 530 at 283:11-23.)

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   Tex. July 14, 2022).) CommScope replies that TQ Delta is “simply rehashing issues previously

   decided by the Court during the informal charge conference and in the verdict form.” (Dkt. No.

   553 at 3.) CommScope additionally notes that the Court instructed the Jury on nominal damages

   (see Dkt. No. 534 at 72:18–25) and made clear that a “contractual obligation where mere proof of

   the making and breach fully proved plaintiff’s cause of action” would entitle the plaintiff to at least

   nominal damages. (Id., quoting Versata Software, Inc. v. Internet Brands, Inc., 2012 U.S. Dist.

   LEXIS 105585, at *10–12 (E.D. Tex. Jul. 30, 2012).)

          The Court concludes that the CommScope put on no concrete evidence of harm or damages

   as a result of the alleged breach of FRAND. A reasonable jury could have concluded that

   CommScope was not harmed by any alleged breach based on the record produced at trial. As TQ

   Delta points out, CommScope only points to “speculative business disruption untethered to any

   actual damages,” unsupported attorney argument via briefing of lost sales to unknown competitors,

   and its reference to litigation expenses on documents of TQ Delta’s that were never presented to

   the Jury. (See Dkt. No. 545 at 4.)

          The parties dispute whether CommScope was entitled to recover nominal damages when

   it asserted only economic harm. CommScope points to case law that discusses the availability of

   nominal damages in the context of a plaintiff proving the making of a contract and breach of the

   same. (See Dkt. No. 553 at 3–4, citing Versata Software, 2012 U.S. Dist. LEXIS 105585, at *10–

   12.) In any event, the Court instructed the Jury that nominal damages were recoverable in the event

   of a breach, and there was no objection to this instruction during the formal charge conference.

   (Dkt. No. 534 at 72:18–25; 15:4–18.) Therefore, the Jury could have found breach even if there

   was no harm in accordance with that instruction. For this reason, the Court next evaluates whether




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   there was sufficient basis for the Jury to find that there was no breach of TQ Delta’s FRAND

   obligations.

            B. There Was Sufficient Evidence for the Jury to Conclude There Was No Breach

            CommScope relies on two main points to demonstrate that no reasonable jury could have

   found that TQ Delta did not breach its FRAND obligations imposed by its contract with the ITU.

   First, it argues that TQ Delta licensed CommScope’s DSL equipment maker competitors at a rate

   substantially less than any of TQ Delta’s offers to CommScope for the same license. (See Dkt. No.

   541 at 4–5.) Second, CommScope contends that because the Jury’s damages award resulted in an

   “effective royalty” that was much lower than TQ Delta’s offers, the Jury could only have found

   that TQ Delta breached its FRAND obligations. (Id. at 1; 5–8.)

                       i.       TQ Delta’s Other Licenses

            After acquiring the Asserted Patents, TQ Delta published its FRAND royalty rates of $0.60

   to $1.35 per licensed product per standard (depending on the number of the following standards

   incorporated into each licensed product: VDSL2, G.Bond, and G.Inp). 3 (Dkt. No. 541 at 4, citing

   Dkt. No. 541-11; see also Dkt. No. 545 at 11.) It then entered licenses with DSL equipment makers



                                                                                                                        .



                                                                                                      (Id., citing Exs.

   36-A, 36-B, 37, 38-A, 38-B, 40; Dkt. No. 528 at 99:1–102:2, 110:6–114:2, 122:22–124:8, 128:1–

   132:7.) Though TQ Delta asserted in trial that                                          were licensed at a


   3
    TQ Delta purchased the Asserted Patents from Aware, Inc. (“Aware”), which had previously entered into a contractual
   obligation to the ITU commensurate with TQ Delta’s. (Dkt. No. 541 at 3.) CommScope contends that when TQ Delta
   purchased the patent portfolio, it inherited the FRAND obligations and existing licenses reflecting those obligations.
   (Id.) In any event, TQ Delta signed its own obligation with the ITU, and does not dispute that (as explained supra).

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   per-unit rate, CommScope urges—as it did during trial—that was not the case. (Id.) Instead,

   CommScope points to discounts, or “adjustments,” to the standard rate resulting in a per-unit rate

   of                                                                           . (Id., citing Dkt. No. 528

   at 105:18–20, 120:8–121:4; Tr. Vol. 5, Dkt. No. 533 at 153:10–155:9.) As explained further infra,

   the CommScope insists that the Jury found               to be a reasonable “effective rate,” and further

   insists that this amount is consistent with the average between these per-unit rates for TQ Delta’s

   other licensees. (Id.)

           TQ Delta’s first offer to CommScope, prior to litigation, was a rate of            per licensed

   products for the relevant accused standards—VDSL2, G.INP, and G.bond (designed to operate

   with VDSL2). (Id. at 5, citing Exs. 124B, 135B.) CommScope argues that this offer was not

   FRAND because CommScope’s DSL equipment maker competitors all paid substantially less than

          (Id.) It asserts that TQ Delta “sought to commercially disadvantage CommScope by seeking

   to charge five times the alleged standard rate for the G.INP standard that CommScope’s

                            had paid.” (Id., citing Dkt. No. 532 at 114:7–18.) After litigation commenced,

   TQ Delta raised its demand to             per licensed product; during trial, the demand was raised to

          per licensed product. (Id., citing Dkt. No. 532 at 112:3–8; 112:19–113:3.) These post-

   litigation offers covered only five of the Asserted Patents (those subject to a FRAND

   commitment). (Id.) CommScope put on evidence of these offers at trial and argued that TQ Delta’s

   offers breached its FRAND obligations.

           In response, TQ Delta argues that the Jury was not required to accept what it views as

   CommScope’s mischaracterization of the rates given to TQ Delta’s other licensees. (Dkt. No. 545

   at 5–6.) Regarding the                        agreements, TQ Delta put on evidence that they included

   an



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                (Id. at 6, citing Ex. 36-B at TQD_TX00313568; Ex. 37 at TQD_TX- 00044462; Dkt.

   No. 528 at 104:13-19, 106:11-107:5, 108:20-109:7, 115:11-118:12.) Regarding the

   agreement, TQ Delta argues that CommScope mischaracterized that license as a worldwide license

   when it was not. (Id., citing Dkt. No. 533 at 153:10-155:9.) In TQ Delta’s view, the Jury could

   have concluded that there was

                          did not compensate TQ Delta for approximately

   (which CommScope included in its calculation of the royalty rate). (Id., citing Trial Exs. 38-A at

   TQD_TX00491591; 38-B; Dkt. No. 528 at 130:1-131:24, 132:12-16.)

            TQ Delta further points out that the non-discriminatory aspect of the FRAND obligation

   applies to similarly situated competitors who have been similarly willing to negotiate licenses in

   good faith. (Id. at 6–7, citing Ex. 68; Dkt. No. 528 at 71:3-16, 149:10-151:4, 152:13-154:9, 185:8-

   12, 186:7-25; Dkt. No. 530 Tr. at 205:21-207:4.) TQ Delta points to important differences in

   negotiations between CommScope on the one hand, and with                                                      on the

   other. (Id. at 7.) At trial, TQ Delta put on evidence of differences relating to good faith negotiations,

   early negotiations, and expiration of some patents that resulted in adjustments for its other

   licensees but did not apply to CommScope. (Id. at 7–8, citing Dkt. No. 528 at 31:18-32:4, 117:21-

   118:7-21, 128:18-25, 163:13-165:6, 167:23-171:7, 173:13-19, 174:18-177:19, 178:14-25, 187:1-

   9; Dkt. No. 532 at 116:11-12, 123:12-25.) TQ Delta contended at trial that CommScope was not a

   willing licensee and failed to negotiate in good faith. 4 (Id. at 7–8.) TQ Delta’s damages expert also




   4
     In particular, TQ Delta put on evidence that CommScope did not negotiate in good faith because: (1) it did not
   approach TQ Delta for a license, (2) dragged out negotiations over years, (3) refused to provide technical and unit
   sales information to TQ Delta, and (4) its counteroffer required TQ Delta to enforce CommScope’s patents in order to
   recover a substantial portion of the royalties. (Dkt. No. 545 at 7–8, citing Dkt. No. 528 at 14:22-21:16, 26:17-29:17,
   32:8-43:20, 160:21-25, 169:6-10, 171:8-172:4; Dkt. No. 532 at 58:12-22; Dkt. No. 530 at 247:3- 252:11.)

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  testified at trial that its offer to CommScope was reasonable in comparison with TQ Delta’s other

  licenses. (Id. at 8, citing Dkt. No. 532 at 9:11-13:25.)

          The Court finds that substantial evidence supports the Jury’s determination that there was

  no breach of TQ Delta’s contractual obligations. Contrary to CommScope’s argument, the Jury

  was free to credit TQ Delta’s evidence over that of CommScope.

          TQ Delta put on a myriad of evidence that                                         were not similarly

  situated to CommScope such that TQ Delta was not required to offer CommScope those same

  adjustments to meet its FRAND obligations. Take                       , for example, whom CommScope

  asserts is its closest competitor and argues is similarly situated. (See Dkt. No. 553 at 1.) TQ Delta

  put on evidence that               was offered                             that CommScope was, but was

  granted adjustments because               was



            (See Dkt. No. 558 at 1–2; see also infra, n.6.) In contrast, TQ Delta put on evidence that

  CommScope was not an early mover, delayed negotiations approximately 10 years, withheld

  information, made an unreasonable counteroffer, 5 and sold                         in infringing products in

  the U.S. without a license. 6

          The evidence differentiating license negotiations between                   and CommScope is only

  one example—TQ Delta put on evidence distinguishing                                    from CommScope as

  well. (See supra at 8.) Additionally, Dr. Putnam testified that TQ Delta’s offer to CommScope was

  reasonable and non-discriminatory when compared to TQ Delta’s other licenses. (See Dkt. No.


  5
    TQ Delta also put on evidence that it was willing to provide CommScope adjustments like those it gave to other
  licensees if CommScope provided it data necessary to apply the adjustments. (Dkt. No. 558 at 2.)
  6
   Compare Dkt. No. 528 at 117:21–118:21, 167:23–171:7, 173:13–19, 178:14–22, 187:1-9; Dkt. No. 532 at 116:11-
  12, 123:12-25 (evidence regarding         ); with Dkt. No. 528 at 14:22-21:16, 26:17- 29:17, 32:8-43:20, 106:20-
  107:5, 115:20-122:21, 160:18-22, 169:6-10, 171:8-173:8; Dkt. No. 530 at 247:3-252:11; Dkt. No. 532 at 58:12-22;
  Dkt. No. 533 at 116:9-117:2 (evidence regarding CommScope).

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          CommScope also contends that TQ Delta’s proposed royalty rates (from                          per

  product) were not FRAND because “TQ Delta failed to apportion its rates to the value of the

  patents, overlooked that the accused products are ‘subject to other patent pools,’ and overlooked

  that the accused products include features beyond those claimed in the patents, such as WiFi and

  fiber connection.” (Id. at 7, citing Dkt. No. 533 at 194:6–12, 146:19–147:6; Uniloc USA, Inc. v.

  Microsoft Corp., 632 F.3d 1292, 1318 (Fed. Cir. 2011).) Additionally, CommScope argues that all

  of the accused functionality was found only in the chipset, such that seeking to charge a percentage

  of the entire product was not FRAND. 8 (Id.)

          In sum, CommScope asserts that the Jury’s “finding” of                  reasonable royalty per

  product—when taking into account the royalty base of                          units and the award of

  $11,250,000 for four patents—is a rate consistent with those CommScope presented for

                         (which average to            per product). (Id.) CommScope notes this is also

  consistent with CommScope’s application of the                agreement (concerning

          to the              chipsets in the Accused Products in this case (which CommScope posits

  resulted in a royalty rate of        per product). (Id. at 7–8.) It concludes that the “jury’s finding of

  a ‘reasonable’ royalty of                …demonstrates that TQ Delta’s offers to CommScope were

  not reasonable, and therefore not FRAND[.]” (Id. at 8.)

          TQ Delta dismisses CommScope’s argument as baseless. (Dkt. No. 545 at 8.) First, it points

  out that the Jury was not asked to decide (and did not decide) whether           , nor TQ Delta’s other

  offers, were FRAND rates. (Id. at 9.) Second, TQ Delta correctly notes that CommScope failed to

  cite any authority supporting its proposition that when a jury awards less in royalty damages for



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   CommScope notes that Aware’s licenses were structured to                             , and argues that TQ
  Delta should have done the same. (Dkt. No. 541 at 7.)


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  infringement than a patentee’s request, the infringer is entitled to JMOL on a claim for breach of

  FRAND. (Id.) It argues that determining damages for infringement of SEPs is distinct from

  assessing whether a license offer is FRAND. (Id.) TQ Delta also notes that FRAND rates are found

  in a range rather than a single rate, such that even if            is a FRAND rate,            might be in the

  FRAND rate range as well. (Id., citing Microsoft Corp. v. Motorola, Inc., 795 F.3d 1024, 1044-45

  (9th Cir. 2015) (finding that, “in determining the RAND rate and range for each SEP portfolio,”

  the district court did not err).)

          Referring back to its assertion that CommScope mischaracterized the rates its other

  licensees paid, TQ Delta notes that CommScope’s argument relies on the Jury’s acceptance of

  CommScope’s argument regarding those rates. (Id. at 9–10.) In other words, the Jury did not have

  to credit CommScope’s argument regarding the effective rates of                                           being

                                respectively. TQ Delta also points out that CommScope’s argument

  ignores licenses to other CPE makers—                                —in which TQ Delta’s standard rates

  were paid. (Id. at 10.) As to CommScope’s argument about the award being consistent with the

          agreement to the                 chipsets in the accused products, TQ Delta urges there is no

  support for this assertion. (Id.) It notes that

  infringing units results in a total of $11,184,668.60, not $11,125,000. (Id., citing Dkt. No. 532 at

  47:24-48:1; Dkt. No. 513 at 2.) TQ Delta also argues that                          (a chipmaker in

                              with TQ Delta) and CommScope (a DSL CPE maker) were not similarly

  situated and would not have received the same rate. (Id.) 9 Lastly, TQ Delta contends it presented

  unrebutted evidence that the claimed inventions are not limited to the chipsets. (Id., citing, inter

  alia, Dkt. No. 530 at 23:11- 24:24, 41:9-42:3, 116:24-118:18.)


  9
   Citing Dkt. No. 528 at 25:14-26:4, 62:16-63:23, 157:1-15; Dkt. No. 532 at 52:18-53:15, 56:14-20; Dkt. No. 526 at
  188:7-25; Dkt. No. 533 at 128:23-129:20, 132:10- 134:20; Dkt. No. 530 at 202:16-203:13, 208:5-209:23.

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          TQ Delta also argues that CommScope mischaracterizes Dr. Putnam’s testimony and the

  law. (Id. at 13.) TQ Delta points out that Dr. Putnam specifically testified to the following: he took

  TQ Delta’s FRAND obligations into account in his opinion (Dkt. No. 532 at 9:11-13:25); he

  considered FRAND obligations when apportioning the value of TQ Delta’s SEPs (id. at 25:15-

  26:22, 30:24-33:9), and the final royalty he arrived at was non-discriminatory and comparable to

  the         license royalty (id. at 48:24-52:12). (Dkt. No. 545 at 13.) TQ Delta acknowledges that

  Dr. Putnam testified that TQ Delta’s patent infringement damages were not constrained by its

  FRAND obligations, but urges that he considered FRAND in his damages analysis. (Id., citing

  Dkt. No. 541 at 6.) Additionally, TQ Delta argues that case law does not require Dr. Putnam’s

  damages model to be constrained by TQ Delta’s FRAND obligation, arguing that damages for

  patent infringement is an issue separate and apart from a FRAND obligation. (Id., quoting HTC

  Corp. v. Telefonaktiebolaget LM Ericsson, 12 F. 4th 476, 486, n.3 (5th Cir. 2021) (internal citations

  omitted) (“The act of determining the value of a standard[]essential patent for purposes of

  calculating damages is distinct from assessing whether a particular offer made during unique

  licensing negotiations was fair and reasonable.”).) 10

          Lastly, TQ Delta addresses CommScope’s apportionment argument. It asserts that Dr.

  Putnam did determine the value of the asserted SEPs and compared that value to offered rates,

  testifying that the gains of DSL over the next best alternative down to TQ Delta’s asserted SEPs

  and compared the result of that apportionment to the                   license. (Id. at 14–15, citing Dkt. No.

  532 at 9:11-52:12.) TQ Delta additionally outlined the contrary evidence it presented rebutting




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     TQ Delta concludes that CommScope’s quotation from HTC Corp that “a jury assessing patent infringement
  damages undertakes the same task of assessing whether an offered rate is FRAND” is taken out of context from the
  concurrence. (Dkt. No. 545 at 14, citing Dkt. No. 541 at 6.) It notes that statement was made in evaluating whether
  patent damages law should be used in a jury instruction for a breach of FRAND case. (Id., citing HTC Corp., 12 F.4th
  at 492.)

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  CommScope’s critiques of TQ Delta’s apportionment at trial. (Id. at 15.) For example, TQ Delta’s

  managing director testified that CommScope never told TQ Delta its rates were too high in view

  of the price of a DSL modem. (Id., citing Dkt. No. 528 at 162:16–24.) Additionally, TQ Delta

  explains that Dr. Putnam’s damages model did apportion down to the value of TQ Delta’s SEPs,

  excluding the value of other SEPs and features of the accused products not covered by the SEPs.

  (Id., citing Dkt. No. 532 at 33:10–45:9, 106:7–19.)

           The Court is persuaded that CommScope’s argument premised on the Jury’s damages

  award is unavailing. The Court declines to find that anything meaningful to the question of TQ

  Delta’s alleged breach of FRAND can be taken from the Jury’s lump sum damages award, where

  the Jury expressly found that there was no breach of FRAND. 11 To determine that the Jury must

  have found breach due to the amount it awarded TQ Delta for infringement, when the Jury also

  determined that there was no breach, flies in the face of logic. The first issue with CommScope’s

  argument is the assumption that the Jury must have credited CommScope’s theory that it was

  similarly situated to TQ Delta’s other licensees, such that CommScope too should have received

  the same or similar adjustments. As the Court acknowledged above, the Jury was free to credit TQ

  Delta’s argument and evidence to the contrary.

           Further, TQ Delta put on evidence that its damages theory was consistent with FRAND

  terms, in that it was reasonable and nondiscriminatory. The Court agrees with TQ Delta that it was

  apparent from Dr. Putnam’s testimony that he did consider FRAND in his damages analysis and

  that he compared his proposed damages figures to TQ Delta’s                          license to confirm they were


  11
     In addition to the arguments laid out in this Order, TQ Delta contends that Jury’s verdict actually implies a royalty
  rate that is greater than the one sought by TQ Delta when one takes into account that TQ Delta’s          offer was for
  a 100-patent portfolio. (Dkt. No. 545 at 11–12.) It essentially argues that because the Jury’s award was only for four
  patents, and the standard rate offer was for a 100-patent portfolio, the Jury’s                  award implies that the
  Jury found that rates at least as high as         per product for the entire portfolio would be FRAND. (Id. at 12.)
  However, because the Court does not accept the premise that the Jury’s damages award supports a reversal of the Jury
  finding that there was no breach of FRAND under these circumstances, the Court does not address this argument.

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  non-discriminatory. (See Dkt. No. 532 at 9:11-13:25; 25:15-26:22, 30:24-33:9; 48:24-52:12.) Dr.

  Putnam did not testify that the damages TQ Delta sought at trial were inconsistent with FRAND;

  he testified that his damages model was not “constrained by the [F]RAND obligation.” (See Dkt.

  No. 532 at 115:2–4, 116:1–3.) The Court is unpersuaded that Dr. Putnam’s testimony constitutes

  overwhelming evidence of breach necessitating judgment as a matter of law. Moreover, the Jury

  was instructed to “take[] into account TQ Delta’s FRAND obligations,” that “[t]he FRAND

  commitment in this case does not require any specific licensing model to determine a FRAND

  royalty,” and to “determine a FRAND royalty based on the totality of the circumstances.” (Dkt.

  No. 534 at 66:4–67:23.) Dr. Putnam’s damages model conformed to these instructions.

           Lastly, the Court finds that Dr. Putnam put on testimony of the value of TQ Delta’s asserted

  SEPs, compared that value to offered rates, and testified that he apportioned the gains of DSL over

  FTTP. (See Dkt. No. 532 at 9:11–52:12.) CommScope’s arguments centered on Dr. Putnam’s

  damages testimony fail, and TQ Delta’s damages case does not mandate a finding of breach of

  FRAND.

  IV.      CONCLUSION

           Since the Court does not grant judgment as a matter of law that TQ Delta breached its

  FRAND obligation, the request for a new trial on damages necessarily fails. Having considered

  the Motion, the Court finds that it should be and hereby is DENIED. The parties are directed to

  jointly prepare a redacted version of this Order for public viewing and to file the same on the

  Court’s docket as an attachment to a Notice of Redaction within five (5) business days of this

  Order.




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    So ORDERED and SIGNED this 15th day of February, 2024.




                                              ____________________________________
                                              RODNEY GILSTRAP
                                              UNITED STATES DISTRICT JUDGE




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